             Case 2:02-cr-00064-JAM Document 93 Filed 07/06/09 Page 1 of 4


P R O B 35          ORDER TERMINATING SUPERVISED RELEASE
                          PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                            )
                                                    )
                            vs.                     )     Docket Number: 2:02CR00064-03
                                                    )
Michael KOERNER                                     )
                                                    )


On December 19, 2002, the above-named was placed on Supervised Release for a period
of 5 years, which commenced on September 2, 2005. He has complied with the rules and
regulations of supervision. It is accordingly recommended that he be discharged from
supervision.

                                      Respectfully submitted,

                                  /s/ Terence E. Sherbondy

                              TERENCE E. SHERBONDY
                         Senior United States Probation Officer

Dated:        June 11, 2009
              Roseville, California
              TES:cd

REVIEWED BY:                /s/ Richard A. Ertola
                     RICHARD A. ERTOLA
                     Supervising United States Probation Officer




                                                                                                           R ev. 05/2006
                                                                E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
            Case 2:02-cr-00064-JAM Document 93 Filed 07/06/09 Page 2 of 4


Re:    Michael KOERNER
       Docket Number: 2:02CR00064-03
       ORDER TERMINATING SUPERVISED RELEASE
       PRIOR TO EXPIRATION DATE



                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.

       July 6, 2009                           /s/ John A. Mendez
Date                                           JOHN A. MENDEZ
                                               United States District Judge

TES:cd
Attachment: Recommendation
cc:   United States Attorney's Office




                                                                                                       R ev. 05/2006
                                                            E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
            Case 2:02-cr-00064-JAM Document 93 Filed 07/06/09 Page 3 of 4


                        RECOMMENDATION TERMINATING
                 SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                     )
                                             )
                             vs.             )       Docket Number: 2:02CR00064-03
                                             )
Michael KOERNER                              )
                                             )


LEGAL HISTORY:

On December 19, 2002, the above-named was placed on Supervised Release for a period
of 5 years, which commenced on September 2, 2005. Special conditions included a
requirement for Search; Financial restrictions and disclosure; Correctional treatment and
testing; Copayment for treatment or testing; and Drug registration.


SUMMARY OF COMPLIANCE:

Koerner has complied with all conditions and special conditions of Supervised Release, and
has not been involved in any further criminal activities. It is the opinion of the probation officer
that Koerner has derived maximum benefit from supervision and is not in need of continued
supervision.




                                                                                             Rev. 04/2007
                                                 3              EARLY TERMINATION ~ RECOMMENDATION.MRG
              Case 2:02-cr-00064-JAM Document 93 Filed 07/06/09 Page 4 of 4


  Re:       Michael KOERNER
            Docket Number: 2:02CR00064-03
            RECOMMENDATION TERMINATING
            SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


RECOMMENDATION:

It is, therefore, respectfully recommended that Supervised Release in this case be terminated
early.

                                         Respectfully submitted,

                                        /s/ Terence E. Sherbondy

                                    TERENCE E. SHERBONDY
                               Senior United States Probation Officer

Dated:           June 11, 2009
                 Sacramento, California
                 TES:cd

REVIEWED BY:                      /s/ Richard A. Ertola
                         RICHARD A. ERTOLA
                         Supervising United States Probation Officer

cc:      AUSA Carolyn K. Delaney (Pursuant to Rule 32, notice of proposed relief to the supervisee is being
         provided. If no objection is received from you within 14 days, the probation officer's Recom m endation
         and Prob 35 - Order Term inating Supervised Release Prior to Expiration Date, will be subm itted to the
         Court for approval.)




                                                                                                     Rev. 04/2007
                                                       4                EARLY TERMINATION ~ RECOMMENDATION.MRG
